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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                        CASE NO. 20-22360-CIV-CANNON/Otazo-Reyes

In re:

MOSHE ENBAR,

      Debtor.
_______________________________/

MOSHE ENBAR, LINDA ENBAR,
ADAM ENBAR, and MELISSA BENZEL,

         Appellants,
v.

FRED GOODSTEIN and
MICHELE GOODSTEIN,

      Appellees.
_______________________________/

                       ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon Appellee’s Notice of Settlement [ECF No. 16],

filed on August 30, 2021, in which the parties advise that they have settled this matter. The Court

has carefully reviewed the file and is fully advised. Accordingly, it is hereby ORDERED AND

ADJUDGED as follows:

     1. The above-styled action is administratively CLOSED without prejudice to the parties to

         file a Stipulation for Dismissal within thirty (30) days of the date of this Order.

     2. If the parties fail to complete the expected settlement, either party may request the Court

         to reopen the case.

     3. The Clerk shall CLOSE this case for administrative purposes only. Any scheduled

         hearings are CANCELED, any pending motions are DENIED AS MOOT, and all

         deadlines are TERMINATED.
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                                        CASE No. 20-22360-CIV-CANNON/Otazo-Reyes
      DONE AND ORDERED in Fort Pierce, Florida this this 30th day of August 2021.



                                                 _________________________________
                                                 AILEEN M. CANNON
                                                 UNITED STATES DISTRICT JUDGE
cc:   counsel of record




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